Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 1 of 100




                  ([KLELW
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 2 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 3 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 4 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 5 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 6 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 7 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 8 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 9 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 10 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 11 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 12 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 13 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 14 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 15 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 16 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 17 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 18 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 19 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 20 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 21 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 22 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 23 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 24 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 25 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 26 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 27 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 28 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 29 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 30 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 31 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 32 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 33 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 34 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 35 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 36 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 37 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 38 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 39 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 40 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 41 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 42 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 43 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 44 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 45 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 46 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 47 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 48 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 49 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 50 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 51 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 52 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 53 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 54 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 55 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 56 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 57 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 58 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 59 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 60 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 61 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 62 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 63 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 64 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 65 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 66 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 67 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 68 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 69 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 70 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 71 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 72 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 73 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 74 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 75 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 76 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 77 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 78 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 79 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 80 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 81 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 82 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 83 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 84 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 85 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 86 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 87 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 88 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 89 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 90 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 91 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 92 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 93 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 94 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 95 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 96 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 97 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 98 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 99 of 100
Case 7:20-cv-04573-PMH-PED Document 91-16 Filed 09/10/20 Page 100 of 100
